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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/08/2019

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Maylon McLamb                                                     CASE NO.: 19−03492−5−SWH
( debtor has no known aliases )
2010 N' New River Dr.                                             DATE FILED: August 1, 2019
Surf City, NC 28445
                                                                  CHAPTER: 13




                                                        DEFICIENCY NOTICE

To: Maylon McLamb
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by August 15, 2019 .

Proof of identity was not provided.

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Chapter 13 plan must be filed by August 15, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by August
15, 2019 .

The Certificate of Completion of pre−petition Credit Counseling Course must be filed by August 15, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: August 1, 2019

                                                                  Jade Campbell
                                                                  Deputy Clerk
